          21-11880-mew              Doc 1             Filed 10/31/21 Entered 10/31/21 19:30:51                             Main Document
                                                                   Pg 1 of 45
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern                            New York
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____
                                                                          11
                                                                                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               GTT Communications, Inc.
                                              ______________________________________________________________________________________________________



                                                  Global Telecom & Technology, Inc.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




                                               2 ___
                                              ___ 0 – ___
                                                       2 ___
                                                          0 ___
                                                             9 ___
                                                                6 ___
                                                                   3 ___
                                                                      3 ___
                                                                         8
 3.   Debtor’s federal Employer
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                              7900 Tysons One Place
                                              ______________________________________________
                                                                                                            One Penn Plaza
                                                                                                           _______________________________________________
                                              Number     Street                                            Number     Street

                                              Suite 1450
                                              ______________________________________________               Suite 1005
                                                                                                           _______________________________________________


                                              McLean                           VA         22102
                                              ______________________________________________                New York                   NY          10119
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                              Fairfax
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      www.gtt.net/us-en
                                              ____________________________________________________________________________________________________




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                                                             Pg 2 of 45
                GTT Communications, Inc.
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          X None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    7 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          x Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          x   A plan is being filed with this petition.

                                                          
                                                          x   Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          
                                                          x   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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                                                                Pg 3 of 45
                GTT Communications, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases          
                                            x No
       filed by or against the debtor
       within the last 8 years?              Yes.     District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases              No
       pending or being filed by a
       business partner or an               
                                            x Yes.             See Rider 1
                                                       Debtor _____________________________________________                      Affiliate
                                                                                                            Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________
                                                                Southern District New York                    When                 10/31/2021
                                                                                                                                 __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this        Check all that apply:
       district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                            
                                            x A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have          
                                            x No
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?

                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




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           21-11880-mew           Doc 1       Filed 10/31/21 Entered 10/31/21 19:30:51                               Main Document
                                                           Pg 5 of 45
Debtor
               GTT Communications, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                             /s/ Ira S. Dizengoff
                                            _____________________________________________            Date        10/31/2021
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                             Ira S. Dizengoff
                                           _________________________________________________________________________________________________
                                           Printed name
                                             Akin Gump Strauss Hauer & Feld LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                             One Bryant Park
                                           _________________________________________________________________________________________________
                                           Number     Street
                                             New York
                                           ____________________________________________________               NY
                                                                                                           ____________ 10036
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                             (212) 872-1000
                                           ____________________________________                               idizengoff@akingump.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            2565687
                                           ______________________________________________________    NY
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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            Form     201A(12/15)
                    201A
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                                                 (25.01%); Brian
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                                                                    Thompson (11.80%);
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            1 See, Declaration of Brian J. Fox in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”).
          1 See, n                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
             F.1See, Declaration of Brian J. Fox in Support of Chapter 11 Petitions and First Day Motions, Ex. F.



            Official
            Official  Form
             Official Form  201A
                       Form 201A
                             201A                        Attachment
                                                         Attachment   totoVoluntary
                                                          Attachment to   Voluntary  Petition
                                                                           Voluntary Petition forforNon-Individuals
                                                                                      Petitionfor   Non-Individuals  Filing
                                                                                                     Non-Individuals Filing  forforBankruptcy
                                                                                                                       Filingfor   Bankruptcy  under
                                                                                                                                    Bankruptcy under Chapter
                                                                                                                                                underChapter  1111
                                                                                                                                                      Chapter 11
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                                            RIDER 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        As of the date hereof, each of the entities listed below (the “Debtors”) filed a petition in
the Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11
of the United States Code. The Debtors will move for joint administration of these cases under
the case number assigned to the chapter 11 case of GTT Communications, Inc.

   1. GTT Communications, Inc.
   2. Communication Decisions - SNVC, LLC
   3. Core180, LLC
   4. Electra Ltd.
   5. GC Pivotal, LLC
   6. GTT Americas, LLC
   7. GTT Global Telecom Government Services, LLC
   8. GTT RemainCo, LLC
   9. GTT Apollo Holdings, LLC
   10. GTT Apollo, LLC
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                  )     Chapter 11
 In re:                                           )
                                                  )     Case No. 21-__________ ( )
 GTT COMMUNICATIONS, INC.,                        )
                                                  )
                       Debtor.                    )
                                                  )


                        CORPORATE OWNERSHIP STATEMENT

Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                 Shareholder                          Approximate Percentage of Shares Held

  Spruce House Investment Management LLC                             25.01%

                Brian Thompson                                       11.80%
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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                              )     Chapter 11
    In re:                                                    )
                                                              )     Case No. 21-__________ ( )
    GTT COMMUNICATIONS, INC.,                                 )
                                                              )
                              Debtor.                         )
                                                              )


                                LIST OF EQUITY SECURITY HOLDERS1

        Equity Holder             Address of Equity Holder                 Type of Equity            Percentage of
                                                                              Security               Equity Held

       Spruce House               435 Hudson St., Suite 804,               Common Stock                  25.01%
         Investment                 New York, NY 10014
      Management LLC
      Brian Thompson                7900 Tysons One Place,                 Common Stock                  11.80%
                                          Suite 1450
                                      McLean, VA 22102
    Conifer Management,           9 West 57th St., Suite 5000,             Common Stock                   8.86%
           L.L.C.                    New York, NY 10019




1
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
       Bankruptcy Procedure. By the Debtors’ Motion for Entry of an Order (I) Scheduling Combined Hearing to
       Consider Adequacy of Disclosure Statement and Confirmation of Plan; (II) Establishing Disclosure Statement
       and Plan Objection Deadline; (III) Approving Solicitation Procedures and Combined Hearing Notice; (IV)
       Waiving the Requirement Under the Bankruptcy Rules and Local Rules to Solicit the Votes of Holders of Existing
       GTT Equity Interests; (V) Approving Equity Notice Procedures; (VI) Directing that a Meeting of Creditors Not
       Be Convened; (VII) Waiving Requirement of Filing Schedules and Statements; (VIII) Establishing Procedures
       for the Assumption and Rejection of Executory Contracts and Unexpired Leases; and (IX) Granting Related
       Relief filed contemporaneously herewith, the debtor is requesting a waiver of the requirement under rule 1007
       to file a list of all of its equity security holders.
              21-11880-mew                 Doc 1            Filed 10/31/21 Entered 10/31/21 19:30:51                                  Main Document
                                                                        Pg 10 of 45
    Fill in this information to identify the case:

    Debtor name GTT Communications, Inc.
    United States Bankruptcy Court for the Southern                     District of New York
                                                                                       (State)                                                   ☐ Check if this is an
    Case number (if known):                                                                                                                        amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
the 30 Largest Unsecured Claims and Are Not Insiders 1               12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

      Name of creditor and complete mailing Name, telephone number, and             Nature of the claim   Indicate if     Amount of unsecured claim
      address, including zip code           email address of creditor contact       (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                    debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                    professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                                    services, and         or disputed     for value of collateral or setoff to calculate
                                                                                    government                            unsecured claim.
                                                                                    contracts)
                                                                                                                          Total claim, if Deduction for     Unsecured
                                                                                                                          partially       value of          claim
                                                                                                                          secured         collateral or
                                                                                                                                          setoff
1     WILMINGTON TRUST, NATIONAL                ATTN: GTT COMMUNICATIONS             7.875% SENIOR                                                          $612,734,375
      ASSOCIATION                               ADMINISTRATOR                        UNSECURED
      50 SOUTH SIXTH STREET, SUITE 1290         FAX: 612-217-5651                    NOTES DUE 2024
      MINNEAPOLIS, MN 55402 UNITED STATES
                                                -- AND --
      -- AND --
                                                ATTN: KURT F. GWYNNE
      WILMINGTON TRUST, NATIONAL
                                                TITLE: COUNSEL
      ASSOCIATION
                                                PHONE: 302-778-7500
      C/O REED SMITH LLP
                                                EMAIL: KGWYNNE@REEDSMITH.COM
      1201 MARKET STREET, SUITE 15
                                                FAX: 302-778-7575
      WILMINGTON, DE 19801-1163

2     CENTURYLINK                              ATTN: JEFF STOREY                    TRADE PAYABLE                                                           $6,360,681
      100 CENTURYLINK DRIVE                    TITLE: CHIEF EXECUTIVE OFFICER
      MONROE, LA 71203                         PHONE: 318-388-9000
      UNITED STATES                            EMAIL:
                                               JEFF.STOREY@CENTURYLINK.COM

3     AT&T                                     ATTN: JEFF MCELFRESH                 TRADE PAYABLE                                                           $4,906,546
      208 S. AKARD ST.                         TITLE: CHIEF EXECUTIVE OFFICER
      DALLAS, TX 75202                         PHONE: 210-821-4105
      UNITED STATES                            EMAIL: JEFFERY.MCELFRESH@ATT.COM

4     VERIZON                                  ATTN: HANS VESTBERG              TRADE PAYABLE                                                               $2,750,476
      1095 AVENUE OF THE AMERICAS              TITLE: CHIEF EXECUTIVE OFFICER
      NEW YORK, NY 10036                       PHONE: 212-395-1000
      UNITED STATES                            EMAIL: HANS.VESTBERG@VERIZON.COM

5     EQUINIX                                  ATTN: CHARLES MEYERS                 TRADE PAYABLE                                                           $2,011,647
      ONE LAGOON DRIVE                         TITLE: CHIEF EXECUTIVE OFFICER
      REDWOOD CITY, CA 94065                   PHONE: 650-598-6000
      UNITED STATES                            EMAIL: CMEYERS@EQUINIX.COM

6     COMCAST                                  ATTN: DAVID MARCUS                   TRADE PAYABLE                                                           $1,794,547
      COMCAST CENTER, 1701 JFK BOULEVARD       TITLE: DEPUTY GENERAL
      1701 JFK BOULEVARD                       PHONE: 215-583-8078
      PHILADELPHIA, PA 19103                   EMAIL:
      UNITED STATES                            DAVID_MARCUS@COMCAST.COM

7     CHARTER COMMUNICATIONS                   ATTN: THOMAS M. RUTLEDGE             TRADE PAYABLE                                                           $1,363,244
      400 ATLANTIC STREET, FLOOR 10            TITLE: CHIEF EXECUTIVE OFFICER
      STAMFORD, CT 06901                       PHONE: 314-965-0555
      UNITED STATES                            EMAIL:
                                               TOM.RUTLEDGE@CHARTERCOM.COM

8     ZAYO BANDWIDTH LLC                       ATTN: DAN CARUSO                     TRADE PAYABLE                                                           $1,134,385
      1821 30TH STREET, UNIT A                 TITLE: CHIEF EXECUTIVE OFFICER
      BOULDER, CO 80301                        PHONE: 866-364-6033
      UNITED STATES                            EMAIL: DCARUSO@ZAYO.COM


Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                          page 1
1 The information herein shall not constitute an admission of liability by, nor is it binding on, any Debtors with respect to all or any portion of the claims listed below.
  Moreover, nothing herein shall affect any Debtor's right to challenge the amount or characterization of any claim at a later date.
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              GTT Communications, Inc.                          Pg 11 of 45
     Debtor                                                                                         Case number (if known)
                    Name




    Name of creditor and complete mailing Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
    address, including zip code           email address of creditor contact   (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                              debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                              professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                              services, and         or disputed     for value of collateral or setoff to calculate
                                                                              government                            unsecured claim.
                                                                              contracts)
                                                                                                                    Total claim, if Deduction for     Unsecured
                                                                                                                    partially       value of          claim
                                                                                                                    secured         collateral or
                                                                                                                                    setoff
9   FRONTIER                               ATTN: SHELDON BRUHA                TRADE PAYABLE                                                           $978,239
    401 MERRITT 7                          TITLE: CHIEF FINANCIAL OFFICER
    NORWALK, CT 06851                      PHONE: 800-921-8101
    UNITED STATES                          EMAIL:
                                           SHELDON.BRUHA@FRONTIER.COM

10 GBI GULF COMMERCIAL INCORPORATED        ATTN: CENGIZ OZTELCAN              TRADE PAYABLE                                                           $962,500
   SCIENCE & TECHNOLOGY PARK TECH 1        TITLE: CHIEF EXECUTIVE OFFICER
   LEVEL 2,AL GHARAFFA STREET, AL RAYYAN   PHONE: 974 4009 4444
   P.O. BOX 210153                         EMAIL: COZTELCAN@GBIINC.COM
   DOHA
11 Digital L REALTY TRUST                  ATTN: WILLIAM STEIN                TRADE PAYABLE                                                           $763,243
   FOUR EMBARCADERO CENTER, SUITE 3200     TITLE: CHIEF EXECUTIVE OFFICER
   SAN FRANCISCO, CA 94111                 PHONE: 415-738-6500
                                           EMAIL: BSTEIN@DIGITALREALTY.COM

12 WINDSTREAM                              ATTN: BOB GUNDERMAN            TRADE PAYABLE                                                               $755,598
   4001 N RODNEY PARHAM RD                 TITLE: CHIEF FINANCIAL OFFICER
   LITTLE ROCK, AR 72212-2442              PHONE: 501-748-7000EMAIL:
   UNITED STATES                           BOB.GUNDERMAN@WINDSTREAM.COM
13 DATABANK HOLDINGS LLC                   ATTN: RAUL K. MARTYNEK         TRADE PAYABLE                                                               $518,606
   400 SOUTH AKARD ST., SUITE 100          TITLE: CHIEF EXECUTIVE OFFICER
   DALLAS, TX 75202                        PHONE: 214-720-2266
   UNITED STATES                           EMAIL:
                                           RAUL.MARTYNEK@DATABANK.COM

14 CROWN CASTLE                            ATTN: JAY BROWN                    TRADE PAYABLE                                                           $513,608
   2000 CORPORATE DRIVE                    TITLE: CHIEF EXECUTIVE OFFICER
   CANONSBURG, PA 15317                    PHONE: 877-486-9377
   UNITED STATES                           EMAIL: JBROWN@CROWNCASTLE.COM

15 INTELISYS INC                           ATTN: MARK MORGAN                  TRADE PAYABLE                                                           $505,256
   1318 REDWOOD WAY, SUITE 120             TITLE: PRESIDENT
   PETALUMA, CA 94954                      PHONE: 864-286-4589
   UNITED STATES                           EMAIL: MMORGAN@INTELISYS.COM

16 CORESITE                                ATTN: PAUL SZUREK                  TRADE PAYABLE                                                           $495,753
   1001 17TH STREET SUITE 500              TITLE: CHIEF EXECUTIVE OFFICER
   DENVER, CO 80202                        PHONE: 866-777-2673
   UNITED STATES                           EMAIL: PAUL.SZUREK@CORESITE.COM

17 COX COMMUNICATIONS                      ATTN: PAT ESSER                    TRADE PAYABLE                                                           $475,221
   6205-B PEACHTREE DUNWOODY ROAD NE       TITLE: CHIEF EXECUTIVE OFFICER
   ATLANTA, GA 30328                       PHONE: 888-278-6660
   UNITED STATES                           EMAIL: PAT.ESSER@COX.COM

18 GRANITE TELECOMMUNICATIONS              ATTN: ROB HALE                     TRADE PAYABLE                                                           $430,343
   100 NEWPORT AVE. EXT                    TITLE: CHIEF EXECUTIVE OFFICER
   QUINCY, MA 02171                        PHONE: 617-933-5500
   UNITED STATES                           EMAIL: RHALE@GRANITENET.COM
                                           FAX: 617-328-0312

19 VELOCLOUD NETWORKS LLC                  ATTN: AMY FLIEGELMAN OLLI          TRADE PAYABLE                                                           $408,882
   3401 HILLVIEW AVE                       TITLE: GENERAL COUNSEL
   PALO ALTO, CA 94304                     PHONE: 877-486-927
   UNITED STATES                           EMAIL: AOLLI@VMWARE.COM

20 TELUS                                   ATTN: DARREN ENTWISTLE             TRADE PAYABLE                                                           $365,045
   510 W GEORGIA ST. FL. 23                TITLE: CHIEF EXECUTIVE OFFICER
   VANCOUVER, BC V6B 0M3                   PHONE: 604-697-8044
   CANADA                                  EMAIL:
                                           DARREN.ENTWISTLE2@TELUS.COM

21 DEUTSCHE TELEKOM NORTH AMERICA, INC     ATTN: BIRGIT BOHLE                 TRADE PAYABLE                                                           $361,472
   141 W FRONT ST                          TITLE: BOARD MEMBER- LEGAL
   RED BANK, NJ 07701                      PHONE: 49 228 1810
   UNITED STATES                           EMAIL: BIRGIT.BOHLE@TELEKOM.DE




Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 2
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               GTT Communications, Inc.                          Pg 12 of 45
     Debtor                                                                                            Case number (if known)
                    Name




    Name of creditor and complete mailing Name, telephone number, and            Nature of the claim   Indicate if     Amount of unsecured claim
    address, including zip code           email address of creditor contact      (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                                                 debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
                                                                                 professional          unliquidated,   secured, fill in total claim amount and deduction
                                                                                 services, and         or disputed     for value of collateral or setoff to calculate
                                                                                 government                            unsecured claim.
                                                                                 contracts)
                                                                                                                       Total claim, if Deduction for     Unsecured
                                                                                                                       partially       value of          claim
                                                                                                                       secured         collateral or
                                                                                                                                       setoff
22 SPRINT                                   ATTN: MIKE SIEVERT                   TRADE PAYABLE                                                           $333,435
   T-MOBILE BANKRUPTCY TEAM                 TITLE: CHIEF EXECUTIVE OFFICER
   PO BOX 53410                             PHONE: 425-827-4500
   BELLEVUE, WA 98015-3410                  EMAIL: MIKE.SIEVERT@T-MOBILE.COM
   UNITED STATES

23 BELL CANADA                              ATTN: MIRKO BIBIC                    TRADE PAYABLE                                                           $252,747
   1 CARREFOUR ALEXANDER-GRAHAM-BELL        TITLE: CHIEF EXECUTIVE OFFICER
   BUILDING A, 4TH FLOOR                    PHONE: 800-339-6353
   VERDUN, QC H3E 3B3                       EMAIL: MIRKO.BIBIC@BELL.CA
   CANADA                                   FAX: 514-786-3970

24 NEUTRONA NETWORKS INTERNATIONAL          ATTN: MIGUEL HERNANDEZ               TRADE PAYABLE                                                           $192,998
   500 W. OVERLAND AVE.                     TITLE: CHIEF EXECUTIVE OFFICER
   SUITE 310                                PHONE: 877-918-3526
   EL PASO, TX 79901                        EMAIL: MIGUEL@TRANSTELCO.COM
   UNITED STATES

25 FUSION CLOUD SERVICES LLC                ATTN: BRIAN CROTTY                   TRADE PAYABLE                                                           $158,986
   210 INTERSTATE NORTH PARKWAY             TITLE: CHIEF EXECUTIVE OFFICER
   SUITE 300                                PHONE: 203-858-0737
   ATLANTA, GA 30339                        EMAIL: BRIAN@FUSIONCONNECT.COM
   UNITED STATES

26 DELL MARKETING LP                        ATTN: TOM SWEET                      TRADE PAYABLE                                                           $157,673
   ONE DELL WAY                             TITLE: CHIEF FINANCIAL OFFICER
   ROUND ROCK, TX 78664                     PHONE: 800-289-3355
   UNITED STATES                            EMAIL: TOM.SWEET@DELL.COM

27 AVANT COMMUNICATIONS INC                 ATTN: BRENDAN TAYLOR                 TRADE PAYABLE                                                           $156,437
   2 N. RIVERSIDE PLAZA SUITE 2450          TITLE: CHIEF FINANCIAL OFFICER
   CHICAGO, IL 60606                        PHONE: 877-312-2826
   UNITED STATES                            EMAIL: BTAYLOR@GOAVANT.NET



28 AMERICAN TOWER CORP & METRO NET SAPI     ATTN: TOM BARTLETT                    TRADE PAYABLE                                                          $153,251
   DE CV                                    TITLE: CHIEF EXECUTIVE OFFICER PHONE:
   116 HUNTINGTON AVENUE, 11TH FLOOR        617-375-7500
   BOSTON, MA 02116                         EMAIL:
   UNITED STATES                            MTOM.BARTLETT@AMERICANTOWER.CO
                                            M
29 TELARUS LLC                              ATTN: RICH GOATES                     TRADE PAYABLE                                                          $153,234
   45 WEST SEGO LILY DR STE 220             TITLE: GENERAL COUNSEL
   SANDY, UT 84070                          PHONE: 877-346-3232
   UNITED STATES                            EMAIL: RGOATES@TELARUS.COM

30 CABLEVISION LIGHTPATH                    ATTN: MICHAEL GRAU                   TRADE PAYABLE                                                           $150,769
   1111 STEWART AVE                         TITLE: CHIEF FINANCIAL OFFICER
   BETHPAGE, NY 11714                       PHONE: 516-672-8520
   UNITED STATES                            EMAIL: MICHAEL@ALTICEUSA.COM




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                         page 3
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 Fill in this information to identify the case:

 Debtorname         ~~ GTT Communications, Inc.

 United States Bankruptcy Court for the:      SOUTHERN       DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                              [3   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penaltyof Perjury for Non-Individual Debtors                                                                                   ~~ 1a1s
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.


a              Declaration and signature


       I'am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

             Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
       a




        [0   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        [0   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        [0   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        [O   Schedule H: Codebtors (Official Form 206H)
        0    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        a    Amended Schedule
        |    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
             (Official Form 204)
        | Other document that requires a declaration               _List of Equity Security Holders; Corporate         Ownership Statement
       | declare under penalty of perjury that the foregoing is tr         d correct.

       Executed on         u(3     [vou                    XxX
                                                             ~ Signi                     signing on behalf of debfor

                                                                 Brian J. Fox
                                                                 Printed name

                                                                 Chief Restructuring Officer
                                                                 Position or relationship To debtor




Official Form 202                                     Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                      OFFICER’S CERTIFICATE

                                             October 31, 2021

         The undersigned, solely in his capacity as the Secretary of GTT Communications, Inc. (“GTT”)
and an Assistant Secretary of Communication Decisions - SNVC, LLC, Core180, LLC, Electra Ltd.,
GC Pivotal, LLC, GTT Americas, LLC, GTT Global Telecom Government Services, LLC, GTT
RemainCo, LLC, GTT Apollo Holdings, LLC and GTT Apollo, LLC (the “GTT Subsidiaries”, and,
collectively with GTT, the “Companies” and, each, a “Company”), solely in the name and on behalf of
each Company and not in his individual or any other capacity, and without personal liability, hereby certifies
that attached hereto as Exhibit A and Exhibit B are true, correct, and complete copies of the resolutions,
duly adopted by the board of directors or the sole member, as applicable, of each Company. Such
resolutions are the only resolutions relating thereto and have not been amended, rescinded, modified, or
revoked since the date of adoption thereof, and are in full force and effect on the date hereof.

                                         [Signature Page Follows]
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                                   Exhibit A



                          Resolutions of the GTT Board



                                   [Attached]
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                                          RESOLUTIONS
                                             OF THE
                                      BOARD OF DIRECTORS
                                               OF
                                    GTT COMMUNICATIONS, INC.

                                              October 30, 2021

         A video and telephonic meeting of the board of directors (the “Board”) of GTT Communications,
Inc., a Delaware corporation (the “Company”), at which a quorum was present and duly acting and pursuant
to which notice was provided or waived and at which all members of the Board present could hear and be
heard by all other participants, was duly called and held on the date first set forth above, at which the Board
adopted the following resolutions. After discussion among the members of the Board and due
consideration, upon motion duly made and seconded, each member of the Board present indicated consent
and approval to the following resolutions and such resolutions were thereby adopted and approved:

         WHEREAS, on September 1, 2021, the Company Parties (as defined below) entered into a
restructuring support agreement (the “RSA”) by and among:

                 (i) the Company, GTT Communications B.V (“GTT B.V.”) and certain other direct and
        indirect subsidiaries of the Company (collectively, the “Company Parties”),

                (ii) certain lender parties (the “Consenting Priming Facility Lenders”) to that certain
        Priming Facility Credit Agreement, dated as of December 28, 2020, by and among the Company,
        GTT B.V. and Delaware Trust Company, as administrative agent (as amended, the “Priming
        Facility Credit Agreement”);

               (iii) certain lenders who have extended revolving loans (the “Consenting Revolving
        Lenders”) under that certain Credit Agreement, dated as of May 31, 2018, by and among the
        Company, GTT B.V., the lenders party thereto from time to time, and KeyBank National
        Association, as administrative agent (as amended, the “Credit Agreement”);

              (iv) certain lenders who have extended U.S. term loans to the Company under the Credit
        Agreement (the “Consenting U.S. Term Loan Lenders”);

              (v) certain lenders who extended the initial term loans to GTT B.V. under the Credit
        Agreement (the “Consenting Original EMEA Term Loan Lenders”);

               (vi) certain lenders who extended term loans to GTT B.V. under Amendment No. 2 to the
        Credit Agreement, dated as of February 28, 2020 (the “Consenting 2020 EMEA Term Loan
        Lenders” and, together with the Consenting U.S. Term Loan Lenders and the Consenting Original
        EMEA Term Loan Lenders, the “Consenting Term Loan Lenders”);

                (vii) certain holders of the Company’s outstanding 7.875% Senior Notes due 2024 (the
        “Consenting Noteholders” and, collectively with the Consenting Priming Facility Lenders, the
        Consenting Revolving Lenders and the Consenting Term Loan Lenders, the “Consenting
        Creditors”) issued pursuant to that certain Indenture, dated as of December 22, 2016, by and among
        the Company, the guarantors party thereto, and Wilmington Trust, National Association, as trustee
        (the “Senior Notes”);
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              (viii) certain holders of the Company’s outstanding shares of common stock (the
        “Consenting Equity Holders”); and

               (ix) Cube Telecom Europe Bidco Limited (“Buyer”), a company controlled by funds
        managed and/or advised by I Squared Capital Advisors (US) LLC (together with the Buyer, “I
        Squared” and, together with the Consenting Creditors and the Consenting Equity Holders, the
        “Consenting Stakeholders”),

which contemplates a comprehensive restructuring of the Company Parties on the terms set forth in the
RSA (the “Restructuring Transactions”);

         WHEREAS, pursuant to the RSA, the Company Parties and the Consenting Stakeholders agreed,
among other things, to effectuate the Restructuring Transactions through consummation of the I Squared
Infrastructure Sale (as such term is defined in the RSA) followed by the commencement of voluntary
reorganization cases under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101–1532 (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”) and confirmation and consummation of a prepackaged chapter 11 plan of
reorganization (as may be amended, modified or supplemented in accordance with the RSA, the “Plan”);

        WHEREAS, the I Squared Infrastructure Sale was consummated on September 16, 2021 and the
net proceeds therefrom were used to reduce the Company’s then-outstanding secured funded indebtedness,
including all of the indebtedness underlying the Priming Facility Credit Agreement;

       WHEREAS, on September 24, 2021 the Company commenced solicitation of votes on the Plan in
accordance with the terms of the RSA;

        WHEREAS, the solicitation of votes on the Plan ended on October 26, 2021, and, as of the date
hereof, the requisite percentages of votes to accept the Plan have been received in order to obtain
confirmation of the Plan pursuant to applicable provisions of the Bankruptcy Code, subject to approval of
the Bankruptcy Court;

        WHEREAS, the Strategic Planning Committee of the Board (the “SPC”) has considered the
presentations by, and recommendations of, the management and the legal and financial advisors of the
Company regarding the liabilities and liquidity situation of the Company, the strategic alternatives available
to the Company, and the effect of the foregoing on the Company’s businesses and the businesses of the
Companies’ subsidiaries and, after careful consideration of all the facts and circumstances, has
recommended that the Board approve the filing by each of the Company and certain of its direct and indirect
U.S. subsidiaries of a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court and the filing of the Plan and the Disclosure Statement accompanying the Plan (the
“Disclosure Statement”) and the contents and disclosures thereof, with the Bankruptcy Court;

          WHEREAS, the Board has considered the recommendations of the SPC and the presentations by,
and recommendations of, management and the legal and financial advisors of the Company regarding the
liabilities and liquidity situation of the Company, the strategic alternatives available to the Company, and
the effect of the foregoing on the Company’s businesses and the businesses of the Companies’ subsidiaries
and, after careful consideration of all of the facts and circumstances, has determined that it is in the best
interests of the Company, its subsidiaries, their respective creditors and other parties in interest to file or
cause to be filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy
Court and to file or cause to be filed the Plan and the Disclosure Statement with the Bankruptcy Court; and




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         WHEREAS, the Board has determined that the following resolutions are advisable and in the best
interests of the Company, its subsidiaries, their respective creditors, and other parties in interest.

                                           CHAPTER 11 FILING

         NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of the Board and based
on the recommendations of the SPC and the information presented to the Board by, and the
recommendations of, the management and the legal and financial advisors of the Company, it is desirable
and in the best interests of the Company, its subsidiaries, their respective creditors, and other parties in
interest that the Company and each of the direct and indirect U.S. subsidiaries of the Company set forth on
Exhibit A hereto (collectively, with the Company, the “Debtor Entities” and, each, a “Debtor Entity”) shall
be, and hereby is, authorized to file or cause to be filed a voluntary petition for relief under chapter 11 of
the Bankruptcy Code commencing cases in the Bankruptcy Court (each, a “Chapter 11 Case,” and
collectively, the “Chapter 11 Cases”); and

         RESOLVED FURTHER, that the Chief Restructuring Officer, Chief Executive Officer, Chief
Financial Officer, Chief Operating Officer and Secretary of the Company (each, an “Authorized Officer”
and, collectively, the “Authorized Officers”), acting alone or with one or more other Authorized Officers
are, and each of them individually hereby is, authorized, empowered and directed to execute and file on
behalf of the Debtor Entities all petitions, schedules, motions, objections, replies, applications, pleadings,
lists, documents and other papers, and to take any and all action that such Authorized Officers deem
necessary, appropriate or desirable to obtain such relief, including, without limitation, any action necessary,
appropriate or desirable to maintain the ordinary course operation of the Debtor Entities’ businesses, to
protect any U.S. federal income tax benefits of the Debtor Entities or to assist the Debtor Entities in the
Chapter 11 Cases and in carrying out their respective duties under the provisions of the Bankruptcy Code.

                PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT

         WHEREAS, the Board has had the opportunity to consult with the management and the legal and
financial advisors of the Company regarding the material terms the Plan pursuant to which the Debtor
Entities would, among other things, implement a reorganization of the Debtor Entities’ liabilities and
emerge from the Chapter 11 Cases;

        WHEREAS, the Board has had the opportunity to consult with the management and the legal and
financial advisors of the Company regarding the material terms of the proposed Disclosure Statement; and

         WHEREAS, the Board has determined that it is advisable and in the best interests of the Debtor
Entities, their respective subsidiaries and creditors, and other parties in interest that the Debtor Entities, in
furtherance of reorganizing the Debtor Entities’ liabilities and their emergence from the Chapter 11 Cases,
file the Plan and the Disclosure Statement with the Bankruptcy Court;

          NOW, THEREFORE, BE IT RESOLVED, that the Board authorizes, confirms, approves and
ratifies the form, terms and provisions of, and each of the transactions contemplated by the RSA, the Plan
and the Disclosure Statement, as each may be amended or modified from time to time, and the filing thereof
with the Bankruptcy Court.

                      CASH COLLATERAL AND ADEQUATE PROTECTION

        RESOLVED FURTHER, in the judgment of the Board, it is desirable and in the best interests of
the Debtor Entities, their respective subsidiaries and creditors, and other parties in interest, to obtain the
benefits from the use of cash collateral (as such term is defined in Bankruptcy Code section 363(a), the



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“Cash Collateral,”), which is security for certain of the Debtor Entities’ prepetition secured lenders (the
“Prepetition Secured Lenders”) party to the Credit Agreement;

         RESOLVED FURTHER, that the Authorized Officers are, and each of them individually hereby
is, authorized, empowered and directed to seek approval of the use of the Cash Collateral pursuant to one
or more cash collateral orders in interim and/or final form (a “Cash Collateral Order”), and each of the
Authorized Officers be, and hereby is, authorized, empowered and directed to negotiate, execute and deliver
any and all agreements, instruments or documents, by or on behalf of the Debtor Entities, necessary,
appropriate or desirable to implement the Cash Collateral Order, including providing for adequate
protection to the Prepetition Secured Lenders in accordance with section 363 of the Bankruptcy Code, as
well as any additional or further agreements for the use of the Cash Collateral in connection with the Chapter
11 Cases, which agreement(s) may require the Debtor Entities to grant adequate protection and security
interests to the Prepetition Secured Lenders and such other agreement, instrument or document to be
executed and delivered in connection therewith, by or on behalf of the Debtor Entities pursuant thereto or
in connection therewith, all with such changes therein and additions thereto as any Authorized Officer in
his or her absolute discretion approves, such approval to be conclusively evidenced by the taking of such
action or by his or her execution and delivery thereof; and

        RESOLVED FURTHER, that the Authorized Officers are, and each of them individually hereby
is, authorized, empowered and directed to execute and deliver any amendments, supplements,
modifications, renewals, replacements, consolidations, substitutions and extensions of the Cash Collateral
Order or to do such other things which shall in his or her absolute discretion be necessary, appropriate or
desirable to give effect to the foregoing resolutions, which determination shall be conclusively evidenced
by his or her execution thereof.

                                 RETENTION OF PROFESSIONALS

         RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to employ the law firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) as general bankruptcy
counsel, to represent and assist the Debtor Entities in carrying out their respective duties under the
Bankruptcy Code, to take any and all actions to advance such Debtor Entities’ rights and obligations,
including filing any petitions, schedules, motions, objections, replies, applications, pleadings, lists,
documents and other papers and conducting any sales process on behalf of the Debtor Entities and to
continue to represent, and perform work for the Audit Committee of the Board during the Chapter 11 Cases;
and in connection therewith, the Authorized Officers, with power of delegation, are, and each of them
individually is, hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain Akin Gump in accordance
with applicable law;

         RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to employ the firm of TRS Advisors, a group within the investment banking division of Piper Sandler &
Co. (“TRS”), as investment banker, to represent and assist the Debtor Entities in carrying out their
respective duties under the Bankruptcy Code, and to take any and all actions to advance the Debtor Entities’
rights and obligations; and in connection therewith, the Authorized Officers, with power of delegation, are,
and each of them individually is, hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and to cause to be filed an appropriate application for authority to retain TRS in
accordance with applicable law;

        RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to employ the firm of Alvarez & Marsal, LLC (“A&M”) to provide the Debtor Entities with a Chief
Restructuring Officer, who shall be Brian J. Fox, along with additional personnel to support the Chief


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Restructuring Officer and the Debtor Entities in connection with the Restructuring Transactions and the
Chapter 11 Cases and in carrying out their respective duties under the Bankruptcy Code; and in connection
therewith, the Authorized Officers, with power of delegation, are, and each of them individually is, hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed an appropriate application for authority to retain A&M in accordance with applicable law;

        RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to employ the firm of Prime Clerk, LLC (“Prime Clerk”) as notice, claims and balloting agent, to represent
and assist the Debtor Entities in carrying out their respective duties under the Bankruptcy Code, and to take
any and all actions to advance such Debtor Entities’ rights and obligations; and in connection therewith,
the Authorized Officers, with power of delegation, are, and each of them individually is, hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed
an appropriate application for authority to retain Prime Clerk in accordance with applicable law;

        RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to employ any other professionals to represent and assist the Debtor Entities in carrying out their respective
duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers, with power of
delegation, are, and each of them individually is, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain any other professionals as necessary; and

        RESOLVED FURTHER, that the Debtor Entities are hereby authorized, empowered and directed
to execute and file all petitions, schedules, motions, objections, replies, applications, pleadings, lists and
other papers and, in connection therewith, to employ and retain all assistance by legal counsel, accountants,
investment bankers, financial advisors, restructuring advisors and other professionals and to take and
perform any and all further acts and deeds that the Authorized Officers deem necessary, appropriate or
desirable in connection with each Chapter 11 Case, with a view to the successful prosecution of the case.

                                            SPC AUTHORITY

         WHEREAS, the Board previously formed the SPC and authorized, approved and adopted the
Second Amended and Restated Strategic Planning Committee Charter (the “SPC Charter”), which
provides, among other things, that the SPC shall have the exclusive responsibility and authority to exercise
the duties of the Board with respect to the Restructuring (as such term is defined in the RSA), and the
implementation thereof, including with respect to any actions to be taken by, or consents to be granted by,
the Company, and any acts or omissions of the Company or any of its subsidiaries governed by or relating
to the terms or conditions of the RSA, subject to the exceptions set forth in the SPC Charter.

         NOW, THEREFORE, BE IT RESOLVED, that, the Board hereby re-affirms that the SPC shall
have the exclusive responsibility and authority to exercise the duties of the Board with respect to the
Restructuring (as such term is defined in the RSA), and the implementation thereof, including with respect
to any actions to be taken by, or consents to be granted by, the Company, and any acts or omissions of the
Company or any of its subsidiaries governed by or relating to the terms or conditions of the RSA, subject
to the exceptions set forth in the SPC Charter.




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                                  CHIEF RESTRUCTURING OFFICER

       WHEREAS, the Company previously appointed Brian J. Fox, an employee of A&M, to serve as
Chief Restructuring Officer of the Debtor Entities, and the Board desires to re-affirm the appointment of
Mr. Fox to serve as Chief Restructuring Officer of the Debtor Entities.

        NOW, THEREFORE, BE IT RESOLVED, that, Mr. Fox is hereby re-affirmed to serve as the
Chief Restructuring Officer of the Debtor Entities, to hold such office until his earlier death, resignation,
retirement or removal; and

         RESOLVED FURTHER, that Mr. Fox shall perform the duties and responsibilities of the office
of the Chief Restructuring Officer of the Company in accordance with the SPC Charter (including with
respect to the Chief Restructuring Officer’s obligation to report to the SPC), and shall otherwise carry on
the businesses of the Debtor Entities.

                                       REGULATORY APPROVALS

        RESOLVED, that the Authorized Officers are, and each of them individually hereby is, authorized,
empowered and directed to make any filings and take actions in connection with all regulatory approvals
considered necessary or advisable in connection with the Restructuring Transactions.

                                                  GENERAL

          RESOLVED, that the Authorized Officers are, and each of them individually hereby is, authorized
and empowered, in the name and on behalf of the Company (including acting on behalf of the Company or any
of its subsidiaries (including any Debtor Entity) in its capacity as the direct or indirect member or equity holder
of any of its subsidiaries), to approve, execute and deliver, from time to time, any and all such agreements,
instruments, certificates and other documents, including the filing of any current reports on Form 8-K under
the Securities Exchange Act of 1934, as amended, with the Securities and Exchange Commission, in
connection with any transaction or action contemplated by the foregoing resolutions as the Authorized
Officer(s) executing and delivering the same shall, as evidenced by the execution and delivery thereof, deem
necessary, desirable or appropriate to carry into effect the purposes and intent of the foregoing resolutions, with
the execution and delivery thereof by any such Authorized Officer of any document, and the taking of any
action in connection with the foregoing, establishing conclusively such Authorized Officer’s authority therefor
and the approval by the Board of the documents so executed and delivered and the actions so taken;

         RESOLVED FURTHER, that the Authorized Officers are, and each of them individually hereby is,
authorized and empowered, in the name and on behalf of the Company, to make all such payments and incur
all such expenses in connection with any transaction contemplated by the foregoing resolutions as the
Authorized Officer(s) making or incurring the same shall, as evidenced by the making or incurring thereof,
deem necessary, desirable or appropriate to carry into effect the purposes and intent of the foregoing resolutions,
with the making or incurring thereof by any such Authorized Officer establishing conclusively such Authorized
Officer’s authority therefor and the approval by the Board of the actions so taken;

         RESOLVED FURTHER, that in addition to the specific authorizations conferred by the foregoing
resolutions upon the Company’s officers and directors, the Authorized Officers are, and each of them
individually hereby is, authorized and empowered, in the name and on behalf of the Company, to do or cause
to be done all such further acts and things (including the approval, execution and delivery of all such further
agreements, instruments, certificates and other documents) as the Authorized Officer(s) doing the same or
causing the same to be done shall, as evidenced by the doing or causing thereof, deem necessary, desirable or
appropriate in order to carry into effect the purposes and intent of the foregoing resolutions, with the doing of



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the same or causing the same to be done by any such Authorized Officer establishing conclusively such
Authorized Officer’s authority therefor and the approval by the Board of the actions so taken; and, if specific
forms of resolutions are necessary, desirable or appropriate to accomplish the transactions contemplated by the
foregoing resolutions, then the same shall be deemed to have been and hereby are adopted, and the Secretary
and any other appropriate officer of the Company are, and each individually hereby is, authorized to certify the
adoption of all such resolutions as though such resolutions are part of these resolutions;

        RESOLVED FURTHER, that, the Authorized Officers be, and they hereby are, authorized and
directed to vote any equity interests of the Company in its subsidiaries as may be necessary or appropriate
to implement the transactions contemplated by the foregoing resolutions;

         RESOLVED FURTHER, that the omission from these resolutions of any agreement or other
arrangement contemplated by any of the agreements described in the foregoing resolutions or any action to be
taken in accordance with any requirement of any of the agreements described in the foregoing resolutions shall
in no manner derogate from the authority of any Authorized Officer to take all actions necessary, desirable,
advisable or appropriate to consummate, effectuate, carry out or further the matters contemplated by and the
intent and purposes of the foregoing resolutions;

          RESOLVED FURTHER, that each of the lawful acts of the Authorized Officers taken prior to the
date hereof in connection with the transactions or actions contemplated by the foregoing resolutions is hereby
ratified, approved, adopted and confirmed as if each such act had been presented to and approved by the
Board prior to being taken;

         RESOLVED FURTHER, that the Secretary and any other appropriate officer of the Company are,
and each individually hereby is, authorized and empowered to certify and furnish such copies of these
resolutions and such statements as to the incumbency of the Company’s officers, as may be requested, and
any person receiving such certified copy is and shall be authorized to rely upon the contents thereof; and

        RESOLVED FURTHER, that these resolutions shall be effective immediately.




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                                        Exhibit A

  1. Communication Decisions - SNVC, LLC

  2. Core180, LLC

  3. Electra Ltd.

  4. GC Pivotal, LLC

  5. GTT Americas, LLC

  6. GTT Global Telecom Government Services, LLC

  7. GTT RemainCo, LLC

  8. GTT Apollo Holdings, LLC

  9. GTT Apollo, LLC
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                                   Exhibit B



                            Omnibus Written Consent
                        of the Sole Member or the Board
                             of the GTT Subisidiaries



                                   [Attached]
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                   OMNIBUS ACTION BY WRITTEN CONSENT
              OF THE SOLE MEMBER OR THE BOARD OF DIRECTORS
                                   OF
                            GTT AMERICAS, LLC
              GTT GLOBAL TELECOM GOVERNMENT SERVICES, LLC
                             GC PIVOTAL, LLC
                   COMMUNICATION DECISIONS - SNVC, LLC
                              ELECTRA LTD.
                               CORE180, LLC
                            GTT REMAINCO, LLC
                             GTT APOLLO, LLC
                        GTT APOLLO HOLDINGS, LLC

                                        October 30, 2021

        The undersigned, each being (i) the sole member or (ii) every member of the board of
directors, as the case may be (each a “Governing Body” and, collectively, the “Governing Bodies”)
of GTT Americas, LLC, a Delaware limited liability company (“GTT Americas”), GTT Global
Telecom Government Services, LLC, a Virginia limited liability company (“GTT Global
Telecom”), GC Pivotal, LLC, a Delaware limited liability company (“GC Pivotal”),
Communication Decisions - SNVC, LLC, a Virginia limited liability company (“SNVC”), Electra
Ltd., a Virginia corporation (“Electra”), Core180, LLC, a Delaware limited liability company
(“Core180”), GTT RemainCo, LLC, a Delaware limited liability company (“GTT RemainCo”),
GTT Apollo, LLC, a Delaware limited liability company (“GTT Apollo”), and GTT Apollo
Holdings, LLC, a Delaware limited liability company (“GTT Apollo Holdings”, and together with
GTT Americas, GTT Global Telecom, GC Pivotal, SNVC, Electra, Core180, GTT RemainCo and
GTT Apollo, collectively the “Companies” and each, a “Company”), which Companies are direct
or indirect subsidiaries of GTT Communications, Inc., a Delaware corporation (the “Parent”),
pursuant to the respective organizational documents of each of the Companies and the laws of the
states of Delaware and Virginia (as applicable), hereby adopts the following resolutions by written
consent, effective as of the date hereof:

        WHEREAS, on September 1, 2021, the Company Parties (as defined below) entered into
a restructuring support agreement (the “RSA”) by and among:

               (i) the Parent, GTT Communications B.V (“GTT B.V.”) and certain other direct and
       indirect subsidiaries of the Parent (collectively, the “Company Parties”),

               (ii) certain lender parties (the “Consenting Priming Facility Lenders”) to that
       certain Priming Facility Credit Agreement, dated as of December 28, 2020, by and among
       the Parent, GTT B.V. and Delaware Trust Company, as administrative agent (as amended,
       the “Priming Facility Credit Agreement”);

              (iii) certain lenders who have extended revolving loans (the “Consenting Revolving
       Lenders”) under that certain Credit Agreement, dated as of May 31, 2018, by and among
       the Parent, GTT B.V., the lenders party thereto from time to time, and KeyBank National
       Association, as administrative agent (as amended, the “Credit Agreement”);
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              (iv) certain lenders who have extended U.S. term loans to the Parent under the
       Credit Agreement (the “Consenting U.S. Term Loan Lenders”);

             (v) certain lenders who extended the initial term loans to GTT B.V. under the Credit
       Agreement (the “Consenting Original EMEA Term Loan Lenders”);

               (vi) certain lenders who extended term loans to GTT B.V. under Amendment No.
       2 to the Credit Agreement, dated as of February 28, 2020 (the “Consenting 2020 EMEA
       Term Loan Lenders” and, together with the Consenting U.S. Term Loan Lenders and the
       Consenting Original EMEA Term Loan Lenders, the “Consenting Term Loan Lenders”);

              (vii) certain holders of the Parent’s outstanding 7.875% Senior Notes due 2024 (the
       “Consenting Noteholders” and, collectively with the Consenting Priming Facility Lenders,
       the Consenting Revolving Lenders and the Consenting Term Loan Lenders, the
       “Consenting Creditors”) issued pursuant to that certain Indenture, dated as of December
       22, 2016, by and among the Parent, the guarantors party thereto, and Wilmington Trust,
       National Association, as trustee (the “Senior Notes”);

             (viii) certain holders of the Parent’s outstanding shares of common stock (the
       “Consenting Equity Holders”); and

              (ix) Cube Telecom Europe Bidco Limited (“Buyer”), a company controlled by
       funds managed and/or advised by I Squared Capital Advisors (US) LLC (together with the
       Buyer, “I Squared” and, together with the Consenting Creditors and the Consenting Equity
       Holders, the “Consenting Stakeholders”),

which contemplates a comprehensive restructuring of the Company Parties on the terms set forth
in the RSA (the “Restructuring Transactions”);

       WHEREAS, pursuant to the RSA, the Company Parties and the Consenting Stakeholders
agreed, among other things, to effectuate the Restructuring Transactions through consummation
of the I Squared Infrastructure Sale (as such term is defined in the RSA) followed by the
commencement of voluntary reorganization cases under the provisions of chapter 11 of title 11 of
the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) and
confirmation and consummation of a prepackaged chapter 11 plan of reorganization (as may be
amended, modified or supplemented in accordance with the RSA, the “Plan”);

       WHEREAS, the I Squared Infrastructure Sale was consummated on September 16, 2021
and the net proceeds therefrom were used to reduce the Parent’s then-outstanding secured funded
indebtedness, including all of the indebtedness underlying the Priming Facility Credit Agreement;

        WHEREAS, on September 24, 2021 the Parent and the Companies commenced
solicitation of votes on the Plan in accordance with the terms of the RSA;



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        WHEREAS, the solicitation of votes on the Plan ended on October 26, 2021, and, as of
the date hereof, the requisite percentages of votes to accept the Plan have been received in order
to obtain confirmation of the Plan pursuant to applicable provisions of the Bankruptcy Code,
subject to approval of the Bankruptcy Court;

         WHEREAS, each Governing Body has considered the presentations by, and
recommendations of, management and the legal and financial advisors of the Parent regarding the
liabilities and liquidity situation of the Parent and the Companies, the strategic alternatives
available to the Parent and the Companies, and the effect of the foregoing on the Parent’s and the
Companies’ businesses and the businesses of their respective subsidiaries and, after careful
consideration of all of the facts and circumstances, has determined that it is in the best interests of
each Company, its subsidiaries and creditors and other parties in interest to file or cause to be filed
a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court
and to file or cause to be filed the Plan and the Disclosure Statement with the Bankruptcy Court;
and

       WHEREAS, each Governing Body has determined that the following resolutions are
advisable and in the best interests of the applicable Company, its subsidiaries and creditors and
other parties in interest.

                                      CHAPTER 11 FILING

        NOW, THEREFORE, BE IT RESOLVED, that in the business judgment of each
Governing Body and the information presented to each Governing Body by, and the
recommendations of, the management and the legal and financial advisors of the Parent, it is
desirable and in the best interests of the applicable Company, its subsidiaries and creditors and
other parties in interest that the such Company shall be, and hereby is, authorized to file or cause
to be filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code commencing
cases in the Bankruptcy Court (each, a “Chapter 11 Case,” and collectively, the “Chapter 11
Cases”); and

         RESOLVED FURTHER, that the President, Chief Restructuring Officer, Chief Executive
Officer, Chief Financial Officer, Chief Operating Officer, Treasurer or Assistant Treasurer,
Secretary or Assistant Secretary of the applicable Company and the other officers as may be
designated in accordance with the organizational documents of such Company (each, an
“Authorized Officer” and, collectively, the “Authorized Officers”), acting alone or with one or
more other Authorized Officer of such Company are, and each of them individually hereby is,
authorized, empowered and directed to execute and file, in the name of and on behalf of the
applicable Company, all petitions, schedules, motions, objections, replies, applications, pleadings,
lists, documents and other papers, and to take any and all action that such Authorized Officers
deem necessary, appropriate or desirable to obtain such relief, including, without limitation, any
action necessary, appropriate or desirable to maintain the ordinary course operation of such
Company’s businesses, to protect any U.S. federal income tax benefits of such Company or to
assist such Company in the Chapter 11 Cases and in carrying out its duties under the provisions of
the Bankruptcy Code.



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            PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT

       WHEREAS, each Governing Body has had the opportunity to consult with the
management and the legal and financial advisors of the Parent regarding the material terms the
Plan pursuant to which the each Company would, among other things, implement a reorganization
of such Company’s liabilities and emerge from the Chapter 11 Cases;

       WHEREAS, each Governing Body has had the opportunity to consult with the
management and the legal and financial advisors of the Parent regarding the material terms of the
proposed Disclosure Statement; and

        WHEREAS, each Governing Body has determined that it is advisable and in the best
interests of the applicable Company, its subsidiaries and creditors and other parties in interest that
such Company, in furtherance of reorganizing such Company’s liabilities and its emergence from
the Chapter 11 Cases, file the Plan and the Disclosure Statement with the Bankruptcy Court;

       NOW, THEREFORE, BE IT RESOLVED, that each Governing Body authorizes,
confirms, approves and ratifies the form, terms and provisions of, and each of the transactions
contemplated by the RSA, the Plan and the Disclosure Statement, as each may be amended or
modified from time to time and the filing thereof by the applicable Company with the Bankruptcy
Court.

                  CASH COLLATERAL AND ADEQUATE PROTECTION

        RESOLVED FURTHER, in the judgment of each Governing Body, it is desirable and in
the best interests of the applicable Company, its subsidiaries and creditors and other parties in
interest, to obtain the benefits from the use of cash collateral (as such term is defined in Bankruptcy
Code section 363(a), the “Cash Collateral,”), which is security for certain of the Companies’
prepetition secured lenders (the “Prepetition Secured Lenders”) party to the Credit Agreement;

        RESOLVED FURTHER, that the Authorized Officers are, and each of them individually
hereby is, authorized, empowered and directed to seek approval of the use of the Cash Collateral
pursuant to one or more cash collateral orders in interim and/or final form (a “Cash Collateral
Order”), and each of the Authorized Officers be, and hereby is, authorized, empowered and
directed to negotiate, execute and deliver any and all agreements, instruments or documents, by or
on behalf of the applicable Company, necessary, appropriate or desirable to implement the Cash
Collateral Order, including providing for adequate protection to the Prepetition Secured Lenders
in accordance with section 363 of the Bankruptcy Code, as well as any additional or further
agreements for the use of the Cash Collateral in connection with the Chapter 11 Cases, which
agreement(s) may require such Company to grant adequate protection and security interests to the
Prepetition Secured Lenders and such other agreement, instrument or document to be executed
and delivered in connection therewith, by or on behalf of such Company pursuant thereto or in
connection therewith, all with such changes therein and additions thereto as any Authorized
Officer in his or her absolute discretion approves, such approval to be conclusively evidenced by
the taking of such action or by his or her execution and delivery thereof; and

      RESOLVED FURTHER, that the Authorized Officers are, and each of them individually
hereby is, authorized, empowered and directed to execute and deliver any amendments,
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supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of the Cash Collateral Order or to do such other things which shall in his or her absolute discretion
be necessary, appropriate or desirable to give effect to the foregoing resolutions, which
determination shall be conclusively evidenced by his or her execution thereof.

                             RETENTION OF PROFESSIONALS

        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to employ the law firm of Akin Gump Strauss Hauer & Feld LLP (“Akin Gump”) as
general bankruptcy counsel, to represent and assist such Company in carrying out its duties under
the Bankruptcy Code, to take any and all actions to advance such Company’s rights and
obligations, including filing any petitions, schedules, motions, objections, replies, applications,
pleadings, lists, documents and other papers and conducting any sales process on behalf of such
Company during the Chapter 11 Cases; and in connection therewith, the Authorized Officers, with
power of delegation, are, and each of them individually is, hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain Akin Gump in accordance with applicable law;

        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to employ the firm of TRS Advisors, a group within the investment banking division of
Piper Sandler & Co. (“TRS”), as investment banker, to represent and assist such Company in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance such
Company’s rights and obligations; and in connection therewith, the Authorized Officers, with
power of delegation, are, and each of them individually is, hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain TRS in accordance with applicable law;

        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to employ the firm of Alvarez & Marsal, LLC (“A&M”), to provide such Company with
a Chief Restructuring Officer, who shall be Brian J. Fox, along with additional personnel to support
the Chief Restructuring Officer and such Company in connection with the Restructuring
Transactions and the Chapter 11 Cases and in carrying out their respective duties under the
Bankruptcy Code; and in connection therewith, the Authorized Officers, with power of delegation,
are, and each of them individually is, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain A&M in accordance with applicable law;

        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to employ the firm of Prime Clerk, LLC (“Prime Clerk”) as notice, claims and balloting
agent, to represent and assist such Company in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance such Company’s rights and obligations; and in
connection therewith, the Authorized Officers, with power of delegation, are, and each of them
individually is, hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain
Prime Clerk in accordance with applicable law;



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        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to employ any other professionals to represent and assist such Company in carrying out
its duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers, with
power of delegation, are, and each of them individually is, hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain any other professionals as necessary; and

        RESOLVED FURTHER, that each Company is hereby authorized, empowered and
directed to execute and file all petitions, schedules, motions, objections, replies, applications,
pleadings, lists and other papers and, in connection therewith, to employ and retain all assistance
by legal counsel, accountants, investment bankers, financial advisors, restructuring advisors and
other professionals and to take and perform any and all further acts and deeds that the Authorized
Officers deem necessary, appropriate or desirable in connection with each Chapter 11 Case, with
a view to the successful prosecution of the case.

                            CHIEF RESTRUCTURING OFFICER

        WHEREAS, the Parent previously appointed Brian J. Fox, an employee of A&M, to serve
as Chief Restructuring Officer of the Parent and the Companies, and the Governing Bodies desire
to affirm the appointment of Mr. Fox to serve as Chief Restructuring Officer of the applicable
Company.

        NOW, THEREFORE, BE IT RESOLVED, that, Mr. Fox is hereby appointed and
affirmed to serve as the Chief Restructuring Officer of each Company, to hold such office until his
earlier death, resignation, retirement or removal;

        RESOLVED FURTHER, that Mr. Fox shall perform the duties and responsibilities of the
office of the Chief Restructuring Officer of each Company in accordance with organizational
documents of such Company, and shall otherwise carry on the business of each Company; and

        RESOLVED FURTHER, that any and all acts and deeds of Mr. Fox taken on behalf of
any Company, taken prior to the date hereof that would have been authorized by the foregoing
resolutions but for the fact that such acts were taken prior to the date hereof are hereby approved,
adopted, ratified and confirmed in all respects as the acts and deeds of the applicable Company.

                                 REGULATORY APPROVALS

       RESOLVED FURTHER, that the Authorized Officers are, and each of them individually
hereby is, authorized, empowered and directed to make any filings and take actions in connection
with all regulatory approvals considered necessary or advisable in connection with the
Restructuring Transactions.

                            NO TERMINATION OF EXISTENCE

       RESOLVED FURTHER, that notwithstanding any provision in the governing documents
of any Company, no Company shall be automatically dissolved, nor shall any member or partner



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of any Company be disassociated, upon the filing of the voluntary petitions or any action taken in
accordance with these resolutions; and

        RESOLVED FURTHER, that (i) each of the (A) Amended and Restated Limited Liability
Company Agreement, dated as of April 9, 2021, of RemainCo and (B) Limited Liability Company
Agreement, dated as of March 24, 2021, of GTT Apollo, be, and each hereby is, amended by
adding new Section 16.3 thereto, which Section shall read as set forth below; and (ii) the Amended
and Restated Limited Liability Company Agreement, dated as of April 10, 2021, of GTT Apollo
Holdings, be, and it hereby is, amended by adding new Section 15.3 thereto, which Section shall
read as set forth below:

       “Bankruptcy. Notwithstanding any provision of this Agreement to the contrary, to the
       fullest extent permitted by law, no member of the LLC shall dissociate or withdraw from
       the LLC as a member or otherwise cease to be a member of the LLC, or be deemed to have
       dissociated or withdrawn from the LLC as a member or otherwise ceased to be a member
       of the LLC, in each case as a consequence of the Bankruptcy of such member, and the LLC
       shall not dissolve upon the Bankruptcy of a member. As used in this Section, “Bankruptcy”
       means that a member makes an assignment for the benefit of creditors; files a voluntary
       petition under chapter 11 of title 11 of the United States Code; is adjudged a bankrupt or
       insolvent, or has entered against itself an order for relief, in any bankruptcy or insolvency
       proceeding; files a petition or answer seeking for itself any reorganization, arrangement,
       composition, readjustment, liquidation, dissolution, or similar relief under any law; files an
       answer or other pleading admitting or failing to contest the material allegations of a petition
       filed against it in any proceeding of the foregoing nature; or seeks, consents to, or
       acquiesces in the appointment of a trustee, receiver, or liquidator of such member, or of all
       or any substantial part of its assets.”

                      APPOINTMENT OF ASSISTANT SECRETARY

       WHEREAS, each of the Governing Bodies desires to appoint Douglass B. Maynard as an
Assistant Secretary of the applicable Company.

       NOW THEREFORE, BE IT RESOLVED, that, Mr. Maynard be, and hereby is, elected,
appointed, ratified and confirmed as an Assistant Secretary of each Company;

       RESOLVED FURTHER, that Mr. Maynard shall perform the duties and responsibilities
of the office of an Assistant Secretary of each Company in accordance with organizational
documents of such Company, and shall otherwise carry on the business of each Company; and

        RESOLVED FURTHER, that any and all acts and deeds of Mr. Maynard taken on behalf
of any Company, taken prior to the date hereof that would have been authorized by the foregoing
resolutions but for the fact that such acts were taken prior to the date hereof are hereby approved,
adopted, ratified and confirmed in all respects as the acts and deeds of the applicable Company.




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                                             GENERAL

       RESOLVED FURTHER, that all actions, including, without limitation, the opening of
any depository or other accounts and paying fees, taken by the Authorized Officers in the name
and on behalf of any Company in connection with any and all of the transactions referred to in, or
contemplated by, the preceding resolutions be, and hereby are, ratified, confirmed and approved;

        RESOLVED FURTHER, that the Authorized Officers, and each of them acting singly,
be and hereby are, authorized from time to time, in the name and on behalf of the applicable
Company (including acting on behalf of such Company or any of its subsidiaries in its capacity as
the direct or indirect member or equity holder of any of its subsidiaries), to approve, execute, make
oath to, acknowledge and deliver any and all such orders, directions, certificates and other
instruments and papers, and to do or cause to be done any and all such other acts and things, as
may, in his or their judgment, be necessary, desirable, appropriate or convenient in connection
with the consummation of the transactions contemplated by the foregoing resolutions;

        RESOLVED FURTHER, that the Authorized Officers are, and each of them individually
hereby is, authorized and empowered, in the name and on behalf of the applicable Company, to make
all such payments and incur all such expenses in connection with any transaction contemplated by the
foregoing resolutions as the Authorized Officers making or incurring the same shall, as evidenced by
the making or incurring thereof, deem necessary, desirable or appropriate to carry into effect the
purposes and intent of the foregoing resolutions, with the making or incurring thereof by any such
Authorized Officer establishing conclusively such Authorized Officer’s authority therefor and the
approval by the Governing Bodies of the actions so taken;

       RESOLVED FURTHER, that, the Authorized Officers be, and they hereby are, authorized
and directed to vote any equity interests of the applicable Company in its subsidiaries as may be
necessary or appropriate to implement the transactions contemplated by the foregoing resolutions;

        RESOLVED FURTHER, that this consent may be signed in multiple counterparts,
including by facsimile or other electronic transmission, each of which shall be deemed to be an
original, but all of which taken together shall constitute one and the same instrument;

         RESOLVED FURTHER, that the omission from these resolutions of any agreement or other
arrangement contemplated by any of the agreements described in the foregoing resolutions or any
action to be taken in accordance with any requirement of any of the agreements described in the
foregoing resolutions shall in no manner derogate from the authority of any Authorized Officer to
take all actions necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out or
further the matters contemplated by and the intent and purposes of the foregoing resolutions;

        RESOLVED FURTHER, that each of the lawful acts of the Authorized Officers taken prior
to the date hereof in connection with the transactions or actions contemplated by the foregoing
resolutions is hereby ratified, approved, adopted and confirmed as if each such act had been
presented to and approved by the applicable Governing Body prior to being taken; and

       RESOLVED FURTHER, to direct that this consent be filed with the records of meetings
of each of the Governing Bodies.


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       IN WITNESS WHEREOF, the undersigned have executed this Omnibus Action by
Written Consent as of the date first set forth above.



COMPANY:                                 GTT AMERICAS, LLC

GTT AMERICAS, LLC                        By: GTT Communications, Inc.,
                                             its sole member



                                             Name: Donna Granato
                                             Title: Chief Financial Officer




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COMPANY:                               GTT GLOBAL TELECOM GOVERNMENT
                                       SERVICES, LLC
GTT GLOBAL TELECOM
GOVERNMENT SERVICES, LLC               By: GTT Communications, Inc.,
                                           its sole member



                                           Name: Donna Granato
                                           Title: Chief Financial Officer




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COMPANY:                              GC PIVOTAL, LLC

GC PIVOTAL, LLC                        By: GTT Americas, LLC, its sole member



                                           Name: Donna Granato
                                           Title: Vice President, Treasurer, Secretary
                                           and Chief Financial Officer




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COMPANY:                              COMMUNICATION DECISIONS – SNVC,
                                      LLC
COMMUNICATION DECISIONS –
SNVC, LLC                              By: GTT Global Telecom Government Services,
                                           LLC, its sole member



                                           Name: Donna Granato
                                           Title: Vice President, Treasurer, Secretary
                                           and Chief Financial Officer




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COMPANY:                                   DIRECTORS:

ELECTRA LTD.


                                           Ernest Ortega




                                           Donna Granato




                                           Don MacNeil




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COMPANY:                                   DIRECTORS:

ELECTRA LTD.


                                           Ernest Ortega




                                           Donna Granato




                                           Don MacNeil




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COMPANY:                              CORE180, LLC

CORE180, LLC                           By: GTT Global Telecom Government Services,
                                           LLC, its sole member



                                           Name: Donna Granato
                                           Title: Vice President, Treasurer, Secretary
                                           and Chief Financial Officer




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COMPANY:                               GTT Apollo, LLC

GTT Apollo, LLC                        By: GTT Apollo Holdings, LLC,
                                           its sole member



                                           Name: Donna Granato
                                           Title: Treasurer, Vice President and Chief
                                           Financial Officer




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COMPANY:                               GTT RemainCo, LLC

GTT RemainCo, LLC                      By: GTT Communications, Inc.,
                                           its sole member



                                           Name: Donna Granato
                                           Title: Chief Financial Officer




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COMPANY:                               GTT Apollo Holdings, LLC

GTT Apollo Holdings, LLC               By its members:


                                       GTT RemainCo, LLC



                                           Name: Donna Granato
                                           Title: Treasurer, Vice President and Chief
                                           Financial Officer


                                       GTT Communications, Inc.



                                           Name: Donna Granato
                                           Title: Chief Financial Officer




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